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 1 MICHAEL W. BIEN – 096891                      OREN NIMNI*
   ERNEST GALVAN – 196065                         Mass. Bar No. 691821
 2 KARA J. JANSSEN – 274762                      AMARIS MONTES*
   GINGER JACKSON-GLEICH – 324454                 Md. Bar No. 2112150205
 3 ROSEN BIEN                                    D DANGARAN*
   GALVAN & GRUNFELD LLP                          Mass. Bar No. 708195
 4 101 Mission Street, Sixth Floor               RIGHTS BEHIND BARS
   San Francisco, California 94105-1738          416 Florida Avenue N.W. #26152
 5 Telephone: (415) 433-6830                     Washington, D.C. 20001-0506
   Email:       mbien@rbgg.com                   Telephone: (202) 455-4399
 6              egalvan@rbgg.com                 Email:       oren@rightsbehindbars.org
                kjanssen@rbgg.com                             amaris@rightsbehindbars.org
 7              gjackson-gleich@rbgg.com                      d@rightsbehindbars.org
                                                 *
 8 SUSAN M. BEATY – 324048                           Pro hac vice applications pending
   CALIFORNIA COLLABORATIVE FOR
 9 IMMIGRANT JUSTICE
   1999 Harrison Street, Suite 1800
10 Oakland, California 94612-4700
   Telephone: (510) 679-3674
11 Email:       susan@ccijustice.org
12 Attorneys for Plaintiffs
13                            UNITED STATES DISTRICT COURT
14           NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
15 CALIFORNIA COALITION FOR WOMEN                          Case No. 3:23-cv-04155
   PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.;
16 G.M.; A.S.; and L.T., individuals on behalf of          DECLARATION OF SUSAN
   themselves and all others similarly situated,           BEATY IN SUPPORT OF
17               Plaintiffs,                               PLAINTIFFS’ MOTIONS FOR
                                                           PRELIMINARY INJUNCTION
18        v.                                               AND PROVISIONAL CLASS
                                                           CERTIFICATION
19 UNITED    STATES OF AMERICA FEDERAL
   BUREAU OF PRISONS, a governmental entity;
20 BUREAU     OF PRISONS DIRECTOR COLETTE
   PETERS, in her official capacity; FCI DUBLIN
21 WARDEN      THAHESHA JUSINO, in her official
   capacity; OFFICER BELLHOUSE, in his
22 individual capacity; OFFICER GACAD, in his
   individual capacity; OFFICER JONES, in his
23 individual capacity; LIEUTENANT JONES, in
   her individual capacity; OFFICER LEWIS, in his
24 individual capacity; OFFICER NUNLEY, in his
   individual capacity, OFFICER POOL, in his
25 individual capacity, LIEUTENANT PUTNAM, in
   his individual capacity; OFFICER SERRANO, in
26 his individual capacity; OFFICER SHIRLEY, in
   his individual capacity; OFFICER SMITH, in his
27 individual capacity; and OFFICER VASQUEZ, in
   her individual capacity,
28               Defendants.
     []
           DECLARATION OF SUSAN BEATY IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
                         INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
      Case 4:23-cv-04155-YGR Document 11-2 Filed 08/17/23 Page 2 of 4




 1         I, Susan Beaty, declare:
 2         1.      I am an attorney duly admitted to practice before this Court. I am a Senior
 3 Attorney at the California Collaborative for Immigrant Justice (“CCIJ”), and counsel of
 4 record for the Plaintiffs and Proposed Class. I have personal knowledge of the facts set
 5 forth herein, and if called as a witness I could competently so testify. I make this
 6 declaration in support of Plaintiffs’ Motion for Provisional Class Certification.
 7         2.      As a Senior Attorney at CCIJ, I coordinate direct representation, litigation, and
 8 advocacy work on behalf of detained and incarcerated immigrants throughout California. I
 9 represent individual clients in removal proceedings before the California Immigration Courts,
10 the Board of Immigration Appeals, and the Ninth Circuit Court of Appeals, and coordinate pro
11 se legal clinics for detained and incarcerated immigrants facing deportation.
12         3.      For the past five years, I have coordinated legal services, litigation, and
13 advocacy on behalf of people incarcerated at the Federal Correctional Institute (“FCI”)
14 Dublin. FCI Dublin is a site of the Institutional Hearing Program, which places
15 incarcerated noncitizens into removal proceedings while serving criminal sentences and
16 operates immigration courts at state and federal prisons. CCIJ has coordinated an
17 immigration legal clinic at FCI Dublin for over a decade, and I have directed this clinic
18 since 2018. In this role, I have conducted legal visits at FCI Dublin approximately once
19 every two months for the past five years. I have provided legal consultations to hundreds
20 of people incarcerated at FCI Dublin and have directly represented dozens of individual
21 clients at the facility. I helped build and now coordinate a legal services referral program,
22 connecting unrepresented individuals at FCI Dublin with pro bono counsel for removal
23 defense, affirmative immigration benefits, compassionate release, and other civil matters.
24 Since 2020, I have supervised a legal services project at FCI Dublin for students at the UC
25 Berkeley School of Law, for which I received the Kathi Pugh Award for Exceptional
26 Mentorship in 2023.
27         4.      I have also worked with a variety of community partners to advocate for
28 improved attorney access and conditions at FCI Dublin. I currently serve as a worker
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        DECLARATION OF SUSAN BEATY IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
                      INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
       Case 4:23-cv-04155-YGR Document 11-2 Filed 08/17/23 Page 3 of 4




 1 representative in an OSHA complaint and investigation for incarcerated workers at FCI
 2 Dublin. In my former role at Centro Legal de la Raza, my employer served as
 3 organizational plaintiff in FOIA litigation against the Bureau of Prisons for records related
 4 to FCI Dublin’s policies and practices. See Centro Legal de la Raza v. Federal Bureau of
 5 Prisons, No. 3:20-cv-05839 (N.D. Cal. 2020).
 6         5.      My colleagues at CCIJ and I have served as counsel or amici in other
 7 lawsuits and administrative complaints seeking to address unlawful actions by prison
 8 administrators, including: Hernandez Gomez et al v. GEO Group, Inc., No. 1:2022-cv-
 9 00868 (E.D. Cal. Filed July 31, 2022), a class action lawsuit on behalf of workers in
10 Central Valley immigration detention facilities; Ahn v. GEO Group, Inc., No. 1:22-cv-
11 005586 (E.D. Cal. filed May 17, 2022), a wrongful death lawsuit on behalf of my former
12 client who died in detention; Vega v. Management and Training Corp., No. 3:21-cv-01770
13 (S.D. Cal filed Oct. 14, 2021), which seeks damages on behalf of an individual unlawfully
14 held in solitary confinement; and multiple administrative complaints to the Department of
15 Homeland Security’s Office for Civil Rights and Civil Liberties regarding conditions of
16 confinement in detention, including staff sexual abuse.
17         6.      I graduated from the UC Berkeley School of Law in 2018. I was admitted to
18 the California bar in 2018 and am a member of the bars of the Ninth Circuit Court of
19 Appeals and the Northern District of California. I worked in the Immigrants’ Rights
20 Program at Centro Legal de la Raza from 2018 until early this year, when I joined CCIJ.
21 Prior to law school, I worked for eight years as a community advocate for detained
22 immigrants and incarcerated people.
23         7.      Since being retained to pursue this class action, I have devoted substantial
24 resources to this case. My colleagues at CCIJ and I are committed to the full and thorough
25 preparation of this case and to acting in the best interests of the class and are willing to
26 take this case to trial. As an organization whose mission is to use the law to address
27 systemic issues facing detained and incarcerated immigrants, CCIJ is committed to moving
28 this case forward. To my knowledge, CCIJ has no conflicts of interest that would prevent
   []                                        2
        DECLARATION OF SUSAN BEATY IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
                      INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
          Case 4:23-cv-04155-YGR Document 11-2 Filed 08/17/23 Page 4 of 4




 1 the firm from providing zealous representation of the named plaintiffs and the class.
 2            I declare under penalty of perjury under the laws of the State of California that the
 3 foregoing is true and correct, and that this declaration is executed at Oakland California
 4 this 15th day of August, 2023.
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                                                      Susan Beaty
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     []                                              3
           DECLARATION OF SUSAN BEATY IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
                         INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
